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 5
     Attorneys for Defendant
 6   ROY GENE DREES
 7
 8                           IN THE UNITED STATES DISTRICT COURT
 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                    Case No. 1:21-cr-00023-NONE-SKO-2
12                       Plaintiff,               STIPULATION TO MODIFY TERM OF
                                                  PRETRIAL RELEASE; AND ORDER
13   vs.
                                                  JUDGE: Hon. Barbara A. McAuliffe
14   ROY GENE DREES,
15                      Defendant.
16
17          On February 24, 2021, at the hearing on the motion to revoke detention order, Mr. Drees
18   was released subject to a number of conditions, including location monitoring. See Dkt. #44.
19   The language used in condition (7)(r) is the standard language for this district’s home
20   incarceration condition which employs a radio frequency transmitter device. Mr. Drees’s third-
21   party custodian/residence is located in the Central District of California and they assumed
22   courtesy supervision of Mr. Drees upon this release. The Central District Pretrial Services
23   employs GPS tracking for their home incarceration/location monitoring condition. Accordingly,
24   the following modification is requested by the parties.
25          IT IS HEREBY STIPULATED by and between the parties hereto through their
26   respective counsel, that Roy Gene Drees’s order of release condition (7)(r) be modified to read as
27   follows:
28
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 1
 2          You must participate in the following location monitoring program component
            and abide by all the requirements of the program, which will include having a
 3          GPS monitoring device attached to your person. You must comply with all
            instructions for the use and operation of said devices as given to you by the
 4          Pretrial Services Agency and employees of the monitoring company. You must
            pay all or part of the costs of the program based upon your ability to pay, as
 5          determined by the pretrial services officer; HOME INCARCERATION: You
            must remain inside your residence at all times except for medical needs or
 6          treatment, religious services, and court appearances pre-approved by the PSO.
 7          All prior orders not in conflict with this order shall remain in full force and effect.
 8          Pretrial Services Officer Frank Guerrero is in agreement with the proposed modification.
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10                                                          Respectfully submitted,
11                                                          PHILIP TALBERT
                                                            Acting United States Attorney
12
13   DATED: March 2, 2021                                   /s/ David Gappa
                                                            DAVID GAPPA
14                                                          Assistant United States Attorney
                                                            Attorney for Plaintiff
15
16                                                          HEATHER E. WILLIAMS
                                                            Federal Defender
17
18   DATED: March 2, 2021                                   /s/ Charles J. Lee
                                                            CHARLES J. LEE
19                                                          Assistant Federal Defender
                                                            Attorney for Defendant
20                                                          ROY GENE DREES
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      DREES: Stipulation and [Proposed] Order to      -2-
      Modify Pretrial Release
     Case 1:21-cr-00023-JLT-SKO Document 49 Filed 03/03/21 Page 3 of 3


 1                                                 ORDER
 2          IT IS SO ORDERED that pretrial release condition (7)(r) be modified to read:
 3          You must participate in the following location monitoring program component
            and abide by all the requirements of the program, which will include having a
 4          GPS monitoring device attached to your person. You must comply with all
            instructions for the use and operation of said devices as given to you by the
 5          Pretrial Services Agency and employees of the monitoring company. You must
            pay all or part of the costs of the program based upon your ability to pay, as
 6          determined by the pretrial services officer; HOME INCARCERATION: You
            must remain inside your residence at all times except for medical needs or
 7          treatment, religious services, and court appearances pre-approved by the PSO.
 8          All prior orders not in conflict with this order shall remain in full force and effect.
 9
10   IT IS SO ORDERED.
11
        Dated:      March 2, 2021                              /s/ Barbara A. McAuliffe               _
12                                                      UNITED STATES MAGISTRATE JUDGE
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      DREES: Stipulation and [Proposed] Order to      -3-
      Modify Pretrial Release
